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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION

RONALD G. COOPER, and                       )
MARK R. ALLEN,                              )
                                            )
               Plaintiffs,                  )
                                            )
       v.                                   )       CIVIL ACTION NO. 18-CV-00060-CAR
                                            )
TOWNLEY FAMILY PARTNERSHIP,                 )
LLLP, and                                   )
TONY D. TOWNLEY,                            )
                                            )
               Defendants.                  )
                                            )

       PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs hereby voluntarily dismiss

this civil action with prejudice.

                                            Respectfully submitted,


Date: August 9, 2018                        s/ Tyler J. Sniff
                                            Donald D.J. Stack
                                            Georgia Bar No. 673735
                                            Tyler J. Sniff
                                            Georgia Bar No. 403125
                                            STACK & ASSOCIATES, P.C.
                                            260 Peachtree Street, Suite 1200
                                            Atlanta, Georgia 30303
                                            Telephone: (404) 525-9205
                                            Facsimile: (404) 522-0275
                                            E-mail: dstack@stack-envirolaw.com
                                            tsniff@stack-envirolaw.com

                                            Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2018 I electronically filed the foregoing PLAINTIFFS’

NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE with the Clerk of the Court

for filing and uploading to the CM/ECF system, which will automatically send e-mail notification

of such filing to all Counsel of Record.


Date: August 9, 2018                        s/ Tyler J. Sniff
                                            Tyler J. Sniff
                                            Georgia Bar No. 403125
                                            STACK & ASSOCIATES, P.C.
                                            260 Peachtree Street, Suite 1200
                                            Atlanta, Georgia 30303
                                            Telephone: (404) 525-9205
                                            Facsimile: (404) 522-0275
                                            E-mail: tsniff@stack-envirolaw.com
